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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                8:17CR104
                                             )
      vs.                                    )
                                             )
JOY RAMOS, JUAN DIAZ LOPEZ,                  )                  ORDER
and OSCAR MACIAS,                            )
                                             )
                    Defendants.


      This matter is before the court on the defendant Juan Diaz-Lopez’s Unopposed
Motion to Continue Trial [38]. Counsel requires additional time to review evidence and
prepare for trial. The defendant has complied with NECrimR 12.1(a) at filing [27]. For
good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [38] is granted, as follows:

      1. The jury trial, for all defendants, now set for August 21, 2017 is continued to
         October 16, 2017.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and October 16, 2017, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED August 17, 2017.

                                    BY THE COURT:


                                    s/ Michael D. Nelson
                                    United States Magistrate Judge
